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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF LOUISIANA
                                  LAKE CHARLES DIVISION



 THE STATE OF LOUISIANA,

                      Plaintiff,
                                                       No. 2:23-cv-00692-JDC-TPL
            v.

 U.S. ENVIRONMENTAL PROTECTION
 AGENCY, et al.,

                      Defendants.


                  DEFENDANTS’ MOTION TO EXTEND DEADLINE
            TO FILE ANSWER IN RESPONSE TO PLAINTIFF’S COMPLAINT

       Defendants respectfully request an extension of time of sixty (60) days from today, to April 5,

2024, in which to file an Answer to Plaintiff’s Complaint.

       As good cause for this request, Defendants offer the following:

       1.        On May 24, 2023, Plaintiff filed its seven-count Complaint challenging various alleged

actions by Defendants in the administration of Title VI of the Civil Rights Act of 1964. See Compl.,

ECF No. 1. Plaintiff then filed a motion for preliminary injunction, ECF Nos. 10-12, and Defendants

cross-moved to dismiss or, in the alternative, for summary judgment, ECF No. 29. In the parties’

joint proposed briefing schedule on these motions, Defendants requested that their deadline to

respond to the Complaint with an Answer, should one be required, be extended during the pendency

of the parties’ motions. ECF No. 22 at 2. This Court adopted the parties’ proposed schedule, and

stated that “Defendants’ deadline to respond to Plaintiff’s Complaint with an Answer, should one be

required, is extended during the pendency of the parties’ anticipated cross-motions.” ECF No. 23 at

2.


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         2.     On January 23, 2024, this Court granted in part and denied in part Defendants’ motion

to dismiss or, in the alternative, for summary judgment. ECF Nos. 48, 49. The Court also granted

preliminary injunctive relief to Plaintiff on a number of the claims asserted in the Complaint. ECF

No. 50. For the portions of Plaintiff’s Complaint that were not dismissed by the Court, Fed. R. Civ.

P. 12(a)(4)(A) provides that Defendants are obligated to file a responsive pleading to the Complaint

within 14 days of the Court’s ruling, or by February 6, 2024.

         3.     In light of the Court’s preliminary injunction and the Court’s resolution of the issues

presented in this case, Defendants are considering appropriate next steps in this litigation, and intend

to confer with Plaintiff so that the parties can present a proposal to the Court. In Defendants’ view,

since the parties have already submitted fulsome dispositive motion briefing on all issues in this case,

an Answer at this stage would not meaningfully advance the litigation. In order to promote efficiency

and preserve party resources, Defendants request that their deadline to file an Answer to Plaintiff’s

Complaint be extended for sixty (60) days from today, until April 5, 2024, to allow the parties an

opportunity to confer regarding appropriate next steps and submit them for this Court’s approval.

Because the parties have already agreed that this case may be fully resolved by cross-motions for

dispositive relief, ECF No. 22 at 2, Defendants submit that Plaintiff will not be prejudiced by such a

delay.

         4.     Before filing this motion and pursuant to Local Rule 7.9, counsel for Defendants

certifies that on this date, counsel sent an email to counsel for Plaintiff, requesting Plaintiff’s position

on the instant extension request by close of business. Defendants did not receive a response by close

of business and are therefore filing this request without Plaintiff’s position.

         For these reasons, Defendants respectfully request that their deadline to file an Answer to

Plaintiff’s Complaint be extended to April 5, 2024. A proposed order is attached.




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Dated: February 6, 2024                           Respectfully submitted,

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